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                                                                              Paul A. Levine, Member

Lemery Greisler LLC                                                           plevine@lemerygreisler.com
                                                                              (518) 433-8800 ext. 313
Attorneys at Law




                                             February 20, 2024
Via ECF

Honorable Mae A. D’Agostino
United States District Court Judge
Northern District of New York
445 Broadway
Albany, New York 12207

       Re: Compass-Charlotte 1031, LLC v. Prime Capital Ventures, LLC, et al., 24-cv-00055

Dear Judge D’Agostino:

       As the Court is aware, I am the Permanent Receiver in this case.

       By Text Order entered February 15, 2024 (Doc. 139), the Court ordered the parties to
argue whether the automatic stay effected by Mr. Roglieri’s bankruptcy filing applies to Prime
Capital Ventures, LLC (“Prime”) and the Third-Party Defendant entities that Mr. Roglieri solely
owns (the “Third-Party Entities”). For the reasons set forth below, the stay does not apply
because the continuation of my third-party action would not adversely impact property of Mr.
Roglieri’s bankruptcy estate; indeed it would be a benefit.

        This Court has authority to decide issues relating to the application of the automatic stay
in a case that is pending before it. In re Baldwin-United Corp. Litigation, 765 F.2d 343 (2d. Cir.
1985), In re World Report, Inc. v. MB Financial Bank BA, 2002 WL 1781459 (2d Cir. 2022) and
Lockyer v. Mirant Corp., 398 F.3d 1098 (9th Cir. 2005). The Court further has the authority to
grant my oral motion made on the record on February 16, 2024 to dismiss Mr. Roglieri from my
third-party action without prejudice. Dismissal is not the “continuation” of a legal action that is
prohibited by the stay. 11 U.S.C. § 362(a)(1). To the contrary, much like the withdrawal of a
restraining notice served on a bank before the filing of a debtor’s bankruptcy case, dismissal
respects and aids the bankruptcy process. See In re Fogarty, 39 F.4th 62, 75 (2d Cir. 2022)
(noting that had the debtor, who was a member of an LLC borrower, been dismissed from a
foreclosure action before a sale occurred, the sale may not have violated the automatic stay) and
Chase Manhattan Bank, N.A. v. Celotex Corp., 852 F. Supp. 226, 228 (S.D.N.Y. 1994)
(“unilateral dismissal of a claim against a bankrupt under Fed. R. Civ. P. 41 or its equivalent by
agreement and judicial approval assists rather than interferes with the goals of Chapter 11”). Of
course, in no event does the stay effected by Mr. Roglieri’s bankruptcy bar the case before Your
Honor from proceeding as against the Berone defendants, Tina Roglieri and Kimberly
Humphrey.
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        As to Prime, the third-party action seeks to recover monies and property that were
conveyed by Prime to the Third-Party Defendants. Continuation of the third-party action will not
adversely impact Prime. If anything, the third-party action benefits Prime because it is not an
action against Prime but is an action on Prime’s behalf. As to the Third-Party Entities, all that my
third-party action seeks to do is to recover assets for the benefit of Mr. Rolgieri’s other entity,
Prime. If successful, my third-party action simply shifts assets from Mr. Roglieri’s other entities
to Prime thereby having no net impact, and certainly no adverse impact, on his bankruptcy estate.
Therefore, the stay in his case is no bar to the third-party action proceeding against the
Third-Party Entities. Queenie, Ltd. v. Nygard Intern., 321 F.3d 282, 287 (2d Cir. 2003) (“The
automatic stay can apply to non-debtors, but normally does so only when a claim against the
non-debtor will have an immediate adverse economic consequence for the debtor's estate”). See
also Fogarty, 39 F.4th at 75.

       Of course, any monies that are recovered for Prime will help Mr. Roglieri’s bankruptcy
because such monies will reduce the potential creditor claims that can be made in his case.

        Finally, and although it would be Mr. Roglieri’s burden to show to the contrary, the
evidence adduced to date indicates that Prime is hopelessly insolvent. The Third-Party
Complaint identified $71,664,7501 in missing borrower deposits (Doc. 71, at ¶71). Not set forth
were the missing deposits of SP Harbor QOZB for $2,500,000 (Doc. 106, page 2, FN 1),
CoNextions for $6,150,000 (Doc. 138-1) and Piper Capital Funding for $10,600,000 (Doc. 45, at
4). The total is almost $91,000,000 and the Receiver has yet to locate and secure anywhere near
that amount. Against this grim reality, it is hard to imagine how Mr. Roglieri’s ownership
interest in Prime has any value to his estate2.

        Thank you for the Court’s kind attention.

                                                     Very truly yours,

                                              LEMERY GREISLER LLC




                                                     Paul A. Levine

cc: all counsel via ECF



1
  The chart at ¶71 of the Third-Party Complaint has an arithmetical error in the total of missing ICA deposits. The
total set forth above is correct.
2
  It is equally hard to fathom how Mr. Roglieri could even begin to show competent proof of such matters given that
Prime has not filed tax returns and has no CPA prepared financial statements. Doc. 132-1.

                                                                                                 677 Broadway, 8th Floor
                                                                                                      Albany, NY 12207
                                                                                                          518.433.8800


                                                                                            www.LemeryGreisler.com
